                      Case 2:09-cr-00194-KJM Document 132 Filed 12/16/16 Page 1 of 2
AO 245B-CAED(Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                              UNITED STATES DISTRICT COURT
                                                Eastern District of California
              UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
                         v.                                                   (For Offenses Committed On or After November 1, 1987)
             MARCUS AURELIUS WILLIAMS
                                                                              Criminal Number: 2:09CR00194-02
                                                                              Defendant's Attorney: Michael Hansen, Appointed
THE DEFENDANT:
       admitted guilt to violation of Charges 1, 2 and 3 as alleged in the violation petition filed on 6/8/2016 .
       was found in violation of condition(s) of supervision as to charge(s)   after denial of guilt, as alleged in the violation petition
       filed on   .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:
Violation Number           Nature of Violation                                                   Date Violation Occurred
1                                     New Law Violation                                                          6/6/2016
2                                     Unlawful Use of a Controlled Substance                                     6/7/2016
                                                                                                                 5/27/2016
3                                     Failure to Participate in Drug Testing as Directed
                                                                                                                 5/29/2016

The court:         revokes:       modifies:        continues under same conditions of supervision heretofore ordered on 4/15/2015 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

       Charge(s)       is/are dismissed.

        Any previously imposed criminal monetary penalties that remain unpaid shall remail in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid.
                                                                             12/7/2016
                                                                             Date of Imposition of Sentence




                                                                             Signature of Judicial Officer
                                                                             Kimberly J. Mueller, United States District Judge
                                                                             Name & Title of Judicial Officer
                                                                             12/16/2016
                                                                             Date
                     Case 2:09-cr-00194-KJM Document 132 Filed 12/16/16 Page 2 of 2
AO 245B-CAED(Rev. 09/2011) Sheet 2 - Imprisonment
DEFENDANT:MARCUS AURELIUS WILLIAMS                                                                                              Page 2 of 2
CASE NUMBER:2:09CR00194-02

                                                          IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
12 months with no term of supervised release to follow.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:
      The court recommends that the defendant be incarcerated at Terminal Island; insofar, as this accords with security classification
      and space availability.

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before       on    .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                                RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                       to
at                                                  , with a certified copy of this judgment.



                                                                       United States Marshal


                                                                       By Deputy United States Marshal
